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Meredith Schultz, Esq.
Email: mschultz@bsfllp.com

July 18, 2016

Via CM/ECF

Honorable Judge Robert W. Sweet
District Court Judge

United States District Court

500 Pearl Street

New York, NY 10007

Re: Giuffre v. Maxwell,
Case No. 15-cv-07433-RWS

Dear Judge Sweet:

This letter is a response in opposition to Defendant’s improper letter motion to strike
Plaintiff Virginia Giuffre’s Motion for an Adverse Inference Instruction Pursuant to Rule 37(B),
(E), and (F), Fed. R. Civ. P.

First, the instant motion is procedurally improper, as Rule 12(f), Fed. R. Civ. P., permits
pleadings to be stricken - not motions. See Huelbig v. Aurora Loan Services, LLC, 2011 WL
4348281, at *2 (S.D.N.Y.,2011) (“Plaintiff's Motion to Strike is improper because Federal Rule
of Civil Procedure 12(f) allows a court to strike pleadings only . . . motions, declarations, and
affidavits are not pleadings.”); Del Col v. Rice, 2014 WL 1834983, at *9 (E.D.N.Y. May 7,
2014) (denying motion to strike portions of memorandum of law as procedurally improper
because it was not a “pleading”); 2 James Wm. Moore et. al., Moore's Federal Practice §
12.37[2] (3d ed. 2004) (“Motions, briefs, or memoranda ... may not be attacked by the motion to
strike.”).

Second, Ms. Giuffre’s counsel did attempt to meet and confer regarding the underlying
issue, by sending a detailed letter specifically asking counsel for defendant whether they objected
to any terms and whether she thought different terms would be appropriate.! Defendant’s
counsel’s failure to respond to that request for conference (and failure to respond to the follow-
up letter) addressing these issues, is part of what made filing the motion for an adverse inference
necessary. Defendant’s wholesale failure to produce any documents by the deadline pursuant to
this Court’s Order and complete failure to request an extension of time from the Court is another
reason Ms. Giuffre’s Motion for Adverse Inference is necessary.

 

‘ As noted in Ms. Giuffre’s Response in Opposition to Defendant’s Motion for Sanctions,
Defendant failed to confer with Ms. Giuffre’s counsel before filing that motion.

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In addition, Ms. Schultz’s letter requested that Defendant to confirm that several steps
would be taken to preserve and capture data. That request remains unanswered. Significantly,
even Defendant’s letter motion to strike only says that Defendant’s (unspecified) “devices” will
be copied. Defendant is silent about capturing Defendant’s email.” Ms. Giuffre has uncovered a
number of email addresses used by Ms. Maxwell. At this point, neither the Court nor Ms. Giuffre
knows what, if anything will be done to capture the data from those accounts.

In addition, immediately after the filing of Ms. Giuffre’s Motion for Adverse Inference,
Defendant informed Ms. Schultz that she would further disobey this Court’s order by running
secret search terms unilaterally chosen by Defendant: “. .. we do not agree to the 344? search
terms unilaterally proposed by Ms. Schultz. If Ms. Schultz wants to propesed reasonable search
terms we will consider them. In the absence of reasonable terms we will conduct the search term
I propose and advise you of the results.” See Schultz Decl. at Exhibit 1, July 13, 2016,
Menninger Email . This communication shows how Defendant plans to continue to violate this
Court’s Order (“Defendant is further directed to run mutually-agreed upon search terms . . . .)
by running Defendant’s own, undisclosed, secret search terms.

Running secret search terms, unilaterally chosen by Defendant simply because she did
not agree to Ms. Giuffre’s proposed search terms, is no better than Defendant’s first efforts at
collection. This Court has already rejected a process wherein Defendant’s counsel allowed
Defendant to pick-and-choose which documents to produce. Now, Defendant wants to take the
same approach with search terms.

Ms. Giutfre was reluctant to bring this matter before the Court via a motion for an
adverse inference, but had little choice given the surrounding circumstances. Defendant’s failure
to respond to request for dialogue and conferral is not limited to the instant intransigence
regarding search terms. Defendant has made a habit of ignoring counsel’s repeated, written
requests to meet and confer on various issues. For example, on June 8, 2016, Ms. Schultz sent
Defendant’s counsel a lengthy and detailed letter concerning the deficiencies in Defendant’s
production in response to Plaintiff's Second Request for Production. See Schultz Decl. at Exhibit
2. In that letter, the undersigned proposed a meet and confer call at Defendant’s counsel’s
convenience, any time Thursday, June 9, 2016, after 11:00 a.m. and any time 9:00 a.m. the
following day, Friday, June 10, 2016. Defendant made no response.

Again, on June 13, 2016, the undersigned wrote requesting a meet and confer call. See
Schultz Decl. at Exhibit 3. This time, the undersigned offered six hours during the work day on

 

“Defendant’s letter motion improperly blacks out the portions of her attached communications
that were written by Ms. Giuffre’s counsel.

* The majority of the search terms comprise the first and last names of individuals listed in
Defendant’s Rule 26 disclosures and Ms. Giuffre’s Rule 26 disclosures.
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Instead of producing discovery, Defendant has complained to this Court that she does not
agree with the search terms Ms. Giuffre proposed. This belated complaint is not the proper
vehicle for working out such issues. It was not until after Ms. Giuffre’s counsel had sent
Defendant’s counsel two letters concerning the search for electronic documents, and then after
she filed a Motion for an Adverse Inference, that counsel for defendant decided to provide
objections to some terms.

Defendant’s counsel did not meet and confer with Ms. Giuffre’s counsel regarding Ms.
Giuffre’s proposed search terms, despite being asked. To be sure, Mr. Pagliuca told Mr. Edwards
he thought the terms were “too broad.” But after Mr. Edwards asked him to contact Ms. Schultz,
there was no further discussions nor any objections. Mr. Edwards never stated that “Mr.
Edwards would talk with Plaintiffs team of lawyers to narrow the scope.” Tellingly, that claim
is modified in Defendant’s motion by the disclaimer, “as Mr. Pagliuca understood it.” However,
there is no rational basis for that “understanding.”

There was no “miscommunication or misunderstanding” here. Instead, there was a blatant
disregard for Ms. Giuffre’s attempts to confer so she can finally get the discovery documents
from Defendant’s various email accounts and electronic devices as directed by this Court. Even
assuming that it is true that Mr. Pagliuca believed, contrary to facts, that Ms. Giuffre’s counsel
would re-issue terms, Defendant’s counsel never sought any modification of this Court’s
production deadline,

The facts here are straightforward. As this Court is aware, on June 20, 2016, this Court
issued an Order directing Defendant to “run mutually-agreed upon search terms related to
Plaintiff's request for production over the aforementioned ESI and produce responsive
documents within 21 days of distribution of this opinion.” After receiving no contact from the
Defendant regarding the Order, on June 30, 2016, Ms. Schultz sent Defendant a list of proposed
search terms and sought to confer with Defendant’s counsel on this very issue. The letter
specifically asked whether Defendant’s counsel objected to any terms, and asked if Defendant’s
counsel thought different terms would be appropriate. They failed to respond in any way, and
did not follow up on Ms. Schultz’s request to discuss the terms, nor give any assent to capturing
Ms. Maxwell’s J mail account (which Ms. Giuffre discovered in the Palm Beach
Count State Attorney’s records). Defendant cannot ignore and fail to respond in any way to Ms.
Giuffre’s two letters aimed at coming to mutually-agreed upon search terms for the relevant data
and then claim that Ms. Giuffre failed to confer. Moreover, regarding this Court’s July 11, 2016,
production deadline, Defendant never asked Ms. Giuffre if she would consent to an extension of
time to produce, and Defendant never moved the Court for an extension of time. Instead,
Defendant simply ignored this Court’s Order.
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Tuesday, June 14, 2016, and 6 hours during the work day on Wednesday, June 15, 2016 (both
days from 10:00 a.m. through 4:00 p.m.). Again, the undersigned received no response
whatsoever.

As of the date of this filing, Defendant’s counsel has wholly failed to respond in any way
to the undersigned’s repeated attempts to meet and confer on those issues as well. Indeed,
Defendant’s counsel did not even acknowledge these requests, let alone state any unavailability.

Ms. Schultz’s June 30, 2016, letter inviting dialogue on proposed search terms, and Ms.
Schultz’s July 8, 2016, letter concerning collection from Ms. | ae
simply received the same treatment: Defendant utterly failed te respond’ No respolise was made
prior to the Court’s deadline to produce, and no response was made after this Court’s deadline to
produce. It wasn’t until Ms. Giuffre sought an adverse inference regarding the documents
Defendant failed to produce in defiance of Court Order that there was any movement by

Defendant on this issue, and even then, Defendant’s first response was a threat of running self-
selected, secret terms.

It should not have taken litigation and a Court Order for Defendant to search for
mutually-agreed terms in Defendant’s email and other electronic data, but it did. Now, Defendant
has willfully violated this Court’s Order, and completely ignored counsel’s requests to confer.
Therefore, this Court should not strike Ms. Giuffre’s Motion for an Adverse Inference, but rather
should grant it for the reasons given therein.

Respectfully submitted,

Meredith Schultz, Esq.
MS:dk

ce: Laura Menninger, via CM/ECF
Jeffrey Pagliuca, via CM/ECF
